Case No. 1:24-cv-03547-CNS-SBP   Document 1-1   filed 12/23/24   USDC Colorado
                                  pg 1 of 7
Case No. 1:24-cv-03547-CNS-SBP   Document 1-1   filed 12/23/24   USDC Colorado
                                  pg 2 of 7
Case No. 1:24-cv-03547-CNS-SBP   Document 1-1   filed 12/23/24   USDC Colorado
                                  pg 3 of 7
Case No. 1:24-cv-03547-CNS-SBP   Document 1-1   filed 12/23/24   USDC Colorado
                                  pg 4 of 7
Case No. 1:24-cv-03547-CNS-SBP   Document 1-1   filed 12/23/24   USDC Colorado
                                  pg 5 of 7
Case No. 1:24-cv-03547-CNS-SBP   Document 1-1   filed 12/23/24   USDC Colorado
                                  pg 6 of 7
Case No. 1:24-cv-03547-CNS-SBP   Document 1-1   filed 12/23/24   USDC Colorado
                                  pg 7 of 7
